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                             Nebraska Court of Appeals Advance Sheets
                                  33 Nebraska Appellate Reports
                                        AVERILL V. OMAHA PUBLIC SCHOOLS
                                               Cite as 33 Neb. App. 272



                        Suzanna Averill, appellee and cross-appellant,
                             v. Omaha Public Schools, appellant
                                    and cross-appellee.
                                                    ___ N.W.3d ___

                                        Filed November 26, 2024.   No. A-23-995.

                 1. Workers’ Compensation: Appeal and Error. An appellate court may
                    modify, reverse, or set aside a compensation court decision only when
                    (1) the compensation court acted without or in excess of its powers; (2)
                    the judgment, order, or award was procured by fraud; (3) there is not
                    sufficient competent evidence in the record to warrant the making of the
                    order, judgment, or award; or (4) the findings of fact by the compensa-
                    tion court do not support the order or award.
                 2. Workers’ Compensation: Evidence: Appeal and Error. Admission
                    of evidence is within the discretion of the compensation court, whose
                    determination in this regard will not be reversed upon appeal absent an
                    abuse of discretion.
                 3. Jurisdiction: Appeal and Error. A jurisdictional question which does
                    not involve a factual dispute is determined by an appellate court as a
                    matter of law.
                 4. Statutes. The meaning of a statute is a question of law.
                 5. Judgments: Appeal and Error. An appellate court reviews questions of
                    law independently of the lower court’s conclusion.
                 6. Workers’ Compensation: Evidence. Pursuant to Workers’ Comp. Ct.
                    R. of Proc. 10 (2024), for a medical report to be admissible, the report
                    must be a medical report and be signed by a physician, surgeon, voca-
                    tional rehabilitation expert, physical therapist, or psychologist.
                 7. ____: ____. Pursuant to Workers’ Comp. Ct. R. of Proc. 10(A) (2024), an
                    itemized bill is admissible; a document identifying purported expenses
                    that is not an itemized bill is not.
                 8. ____: ____. Pursuant to Workers’ Comp. Ct. R. of Proc. 10(A) (2024),
                    a bill is an account or invoice from a medical provider or vocational
                    rehabilitation professional.
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          Nebraska Court of Appeals Advance Sheets
               33 Nebraska Appellate Reports
                  AVERILL V. OMAHA PUBLIC SCHOOLS
                         Cite as 33 Neb. App. 272
 9. ____: ____. Although the compensation court is not bound by the usual
    common-law or statutory rules of evidence, Workers’ Comp. Ct. R. of
    Proc. 10 (2024) is an evidentiary rule that allows the compensation court
    to admit into evidence documents that would otherwise be inadmissible
    if those documents meet the requirements of that rule.
10. Workers’ Compensation: Evidence: Proof. When an employee in
    a workers’ compensation case presents evidence of medical expenses
    resulting from injury, he or she has made out a prima facie case of fair-
    ness and reasonableness, causing the burden to shift to the employer to
    adduce evidence that the expenses are not fair and reasonable.
11. Trial: Evidence: Appeal and Error. Erroneous admission of evidence
    is not reversible error unless it unfairly prejudiced a substantial right of
    the complaining party.
12. Appeal and Error. An appellate court is not obligated to engage in an
    analysis that is not necessary to adjudicate the case and controversy
    before it.

  Appeal from the Workers’ Compensation Court: James R.
Coe, Judge. Affirmed in part, and in part reversed.
   Brian D. Moore, of Baird Holm, L.L.P., for appellant.
   Richard J. Rensch, Sean P. Rensch, and Thomas C. Murphy,
of Rensch &amp; Rensch Law, P.C., L.L.O., for appellee.
   Riedmann, Chief Judge, and Moore and Bishop, Judges.
   Riedmann, Chief Judge.
                      I. INTRODUCTION
   Omaha Public Schools (OPS) appeals an award of the
Nebraska Workers’ Compensation Court awarding Suzanna
Averill indemnity and medical benefits. It assigns numerous
evidentiary errors and asserts that the compensation court
acted outside its statutory jurisdiction when it ordered OPS to
“recredit” Averill’s paid sick days. Averill cross-appeals the
compensation court’s ruling sustaining OPS’ objection to the
admission of a “thumb drive” containing medical bills and
records. For the reasons set forth below, we reverse the award
of medical benefits in large part and affirm the remainder of
the award.
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
                       II. BACKGROUND
   Averill is employed as a special education teacher for OPS.
On August 31, 2017, she was kicked in the right kneecap
by a student. Although she sought immediate treatment, her
condition worsened, ultimately resulting in complex regional
pain syndrome. Eventually, she developed diffused peripheral
bilateral leg edema, chronic kidney disease, back pain, and
hypokalemia. Her postinjury medical care was complicated
and involved approximately 15 hospitalizations. In September
2018, she filed a petition in the compensation court seeking
benefits for temporary and permanent disability, loss of earning
capacity, and medical expenses.
   Trial was held in August 2023. OPS contested the extent of
Averill’s injuries, but because neither party has appealed the
nature and extent of Averill’s injuries as found by the court,
we do not detail the extensive medical information provided.
Rather, this appeal focuses primarily on evidentiary rulings,
the court’s reliance upon certain exhibits and the exclusion of
others, the court’s authority to order reinstatement of sick time
used by Averill, and the sufficiency of the court’s award as it
relates to Workers’ Comp. Ct. R. of Proc. 11(A) (2024) (Rule
11). We therefore focus on these evidentiary issues.
   At the beginning of trial, Averill offered 40 exhibits.
Preliminarily, she offered a summary of the medical records
because, according to Averill’s counsel, the “evidence is volu-
minous, thousands of pages. Well, I mean, maybe not quite
thousands, but hundreds of pages.” The court sustained OPS’
hearsay objection to the medical records summary and repri-
manded Averill’s counsel, saying, “If you wanted to give me
a brief summary, you shouldn’t have given me 4,000 pages of
exhibits.” When Averill’s counsel advised the court it would
also be offering a thumb drive of all the medical documents
for the court’s convenience, the court expressed frustration,
stating, “I’m going to get this and this and the thumb drive?
. . . . I’m going to hurt my back trying to be convenient
for you.”
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
    Pertinent to this appeal, OPS objected to exhibit 26 (a sum-
mary of medical expenses prepared by Averill and her coun-
sel), exhibit 27 (containing a summary of Averill’s lost wages),
exhibit 31 (thumb drive containing thousands of pages of medi-
cal records and bills), exhibit 33 (multipage document includ-
ing cell phone screenshots of medical bills allegedly paid by
a health insurer), exhibit 35 (subrogation letter from a health
insurer), and exhibits 36 through 39 (liens from various health
care providers).
    As to exhibit 26, OPS objected on the basis of hearsay,
foundation, and the compensation court’s rules. See Workers’
Comp. Ct. R. of Proc. 10 (2024) (Rule 10). Averill’s counsel
advised the court that exhibit 26 was a billing summary. When
asked by the court if he had the actual bills, Averill’s counsel
responded that they were “in the thumb drive.” He explained
that he was just “trying to make this — I thought it was sup-
posed to make it a little more compact and complete.” The
court received the exhibit over OPS’ objection.
    OPS objected on hearsay, foundation, and relevancy to the
first two pages of exhibit 27, which were Averill’s summary of
lost wages. The court overruled the objection.
    When Averill’s counsel offered exhibit 31, the thumb drive,
OPS objected, stating that it was “cumulative, duplicative. I
think it violates Rule 14 of the court’s rules of procedure.”
The court asked Averill’s counsel why it had a thumb drive,
to which counsel responded, “For completeness it is — it is
a — he’s not saying that it’s not a copy of all the records that
we subpoenaed in this particular case, all the medical records.
He’s not saying they’re not relevant.” The court reminded
counsel that he had told the court that it had all the medical
records before it in paper form, and counsel responded, “All
the medical records, I think enough for you to make a deci-
sion, but this is in case you want to delve a little deeper into
it. That’s all.” The court sustained the objection to exhibit 31.
Averill’s counsel then made an offer of proof that consisted of
“what I already just stated on the record.” The court retorted,
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
“I don’t know if you need to make an offer of proof if every-
thing in the thumb drive is what you’ve given me already. So
how can you make an offer of proof on the documents you’ve
given me already?” Averill’s counsel responded, “I just want
you to know that we’re just objecting to it.”
   Regarding exhibit 33, a multipage document including cell
phone screenshots of medical benefits allegedly paid, OPS
objected on hearsay, foundation, and Rule 10. Counsel argued
that it contained an unsigned clinical summary and that there-
fore, it was inadmissible. The court overruled the objection,
indicating that it would give it the weight and credibility it is
entitled to.
   OPS made a global objection to exhibits 35 through 39,
which were identified as medical liens. The objection was on
hearsay, foundation, relevance, and Rule 10. Counsel’s primary
complaint was that the documents did not identify dates of
service or medical providers and that they did not qualify as
itemized bills under Rule 10. The court asked if the bills had
been paid and if it had a listing of unpaid bills. Averill’s coun-
sel responded, “Yes. And you have the summary.” The court
received the exhibits, stating it would give them the weight and
credibility they were entitled to.
   In addition to the exhibits offered by Averill, OPS offered
18 exhibits, including an itemization of temporary and per-
manent disability payments made, which were received with-
out objection. Thereafter, Averill testified. Relevant to this
appeal, she testified that she did not receive temporary total
disability (TTD) payments from OPS; rather, she was required
to use her accrued sick time to cover time lost due to medi-
cal appointments and hospitalizations. No further evidence
was adduced.
   The compensation court entered an award detailing the
various medical opinions offered by each party. It concluded
that most of Averill’s symptoms were a result of the work
accident that occurred in August 2017, with the exception
of Averill’s upcoming ablation heart surgery and her heart
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
rhythm abnormalities (i.e., tachycardia). The court ordered
OPS to pay the outstanding medical bills set forth in exhib-
its 26 and 33, “except those excluded by the Court in this
opinion” and excluding any bill related to Averill’s hysterec-
tomy. It further ordered that OPS reimburse any third parties
who paid any portion of the medical bills which the court
found OPS liable for and that it pay the subrogation interest
of Averill’s health insurer and satisfy the liens identified in
exhibits 35 through 40.
   The court also ordered that “[t]o the extent that [OPS] has
taken days that [Averill] has accumulated for sick leave in the
course of her employment to pay for temporary or permanent
indemnity those dates should be recredited to [Averill].” It fur-
ther awarded a 15-percent loss of earning capacity and future
medical expenses, with a credit to OPS for medical expenses
and indemnity previously paid.
   OPS appeals, and Averill cross-appeals.
                III. ASSIGNMENTS OF ERROR
   OPS assigns that the compensation court erred in (1) admit-
ting into evidence various exhibits, including (a) a medical
summary (exhibit 26), (b) a summary of lost wages (exhibit
27), (c) cell phone screenshots and miscellaneous medical
records (exhibit 33), and (d) medical liens (exhibits 35 through
39); (2) awarding payment of past medical expenses not sup-
ported by competent evidence that predated the injury or that
were unrelated to the injury; (3) acting beyond its authority by
awarding a “recredit” of paid sick days; and (4) failing to pro-
vide an award that allowed for meaningful appellate review.
   Averill assigns on cross-appeal that the compensation court
erred in sustaining OPS’ objection to a thumb drive that con-
tained, in part, her medical bills (exhibit 31).
                IV. STANDARD OF REVIEW
   [1] An appellate court may modify, reverse, or set aside
a compensation court decision only when (1) the compensa-
tion court acted without or in excess of its powers; (2) the
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
judgment, order, or award was procured by fraud; (3) there is
not sufficient competent evidence in the record to warrant the
making of the order, judgment, or award; or (4) the findings
of fact by the compensation court do not support the order or
award. Mosher v. Whole Foods Market, 317 Neb. 26, 8 N.W.3d
733 (2024).
   [2] Admission of evidence is within the discretion of the
compensation court, whose determination in this regard will
not be reversed upon appeal absent an abuse of discretion.
Fentress v. Westin, Inc., 304 Neb. 619, 935 N.W.2d 911 (2019).
   [3-5] A jurisdictional question which does not involve a
factual dispute is determined by an appellate court as a matter
of law. Midwest PMS v. Olsen, 279 Neb. 492, 778 N.W.2d 727(2010). The meaning of a statute is also a question of law. Id.An appellate court reviews questions of law independently of
the lower court’s conclusion. Id.                         V. ANALYSIS
                   1. Evidentiary Rulings
   Both OPS and Averill assign as error certain evidentiary rul-
ings relating to medical expense exhibits. Because our analysis
of OPS’ assigned error on this issue is dependent upon Averill’s
assigned error, we address Averill’s cross-appeal first.
                       (a) Thumb Drive
   Averill offered into evidence a thumb drive, which she
described as containing “all of the medical documents,” and
a three-ring binder containing medical documents, which the
court described as containing “4,000 pieces of paper.” The
court advised Averill that it planned to read “every word” that
she had provided “in written paper form.” It then inquired
whether it needed “a thumb drive to do that too?” Averill’s
counsel responded “Judge, I don’t know. I don’t believe you
would have to do that.”
   Prior to the offer of the thumb drive, Averill offered an
exhibit that was incomplete. When the court inquired whether
OPS had the complete document, OPS’ counsel responded,
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
“We have all the medical, I think it’s on the thumb drive,”
but he forewarned the court that he was going to object to the
thumb drive. When Averill offered a medical expense sum-
mary, the court inquired of Averill’s counsel whether “we
have the bills,” to which counsel responded they were on the
thumb drive.
   When Averill’s counsel offered the thumb drive into evi-
dence, OPS’ counsel objected, stating it was cumulative and
duplicative and violated “Rule 14” of the court’s rules of
procedure because the thumb drive contained documentary
exhibits, but was not in paper form. The court reminded
Averill’s counsel that he had told the court that it had all the
medical records in front of it, and Averill’s counsel responded
that the court had “enough” of the medical records to make a
decision but that he was providing the thumb drive “in case
you want to delve a little deeper into it. That’s all.” The court
sustained the objection to the thumb drive.
   Averill’s assigned error on cross-appeal is as follows:
       The compensation court erred when it essentially sus-
       tained [OPS’] objection to Exhibit 31 when it accepted
       [OPS’] explanation that Exhibit 31 was cumulative and
       duplicative, even though it was neither; whereas, had
       it been received, the Court would have seen that con-
       tained the exact medical bills and itemized billing records
       requested by the court and required by court rules.
   Averill is correct that OPS objected, in part, because the
thumb drive was cumulative and duplicative; however, Averill
did not attempt to explain that the thumb drive also included
medical bills that were not otherwise offered. Instead, Averill
responded that the court had “enough” to make a decision and
that the thumb drive was “in case [the court] wanted to delve
a little deeper into it.” Averill admits on appeal that the thumb
drive contains “every Medical Record and all corresponding
Itemized and treatment coded Medical Bills the parties dis-
covered and exchanged during Discovery.” Brief for appel-
lee at 9. Therefore, OPS did not misrepresent that the thumb
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
              AVERILL V. OMAHA PUBLIC SCHOOLS
                     Cite as 33 Neb. App. 272
drive was cumulative and duplicative to a large extent because
many of those documents were before the court in other
exhibits. Averill concedes that an “unfortunate communication
error seems to have occurred as to Exhibit 31” but argues that
OPS knew what bills it was responsible for. Id. However, it
is the evidence at trial and not the information exchanged in
discovery that must support a compensation award.
   We agree that there was confusion surrounding the con-
tents of the thumb drive, but Averill did not attempt to clear
up that confusion by advising the court that the thumb drive
contained documents not otherwise offered. And the confu-
sion was compounded by compiling documentary exhibits
onto a thumb drive. OPS objected to the thumb drive not only
because it was cumulative, but because it violated the com-
pensation court’s rules. See Workers’ Comp. Ct. R. of Proc.
14 (2024) (Rule 14). Rule 14(A) requires that multiple-page
exhibits be stapled and numbered sequentially by the par-
ties, and Rule 14(B) allows documentary evidence to remain
in paper form. Rule 14(C) governs the use of media exhibits
and includes digital video exhibits and digital audio exhibits.
We read nothing in the rules of procedure that allows a party
to compile thousands of documents onto a thumb drive as a
single exhibit.
   For the above reasons, we find no abuse of discretion in the
court’s ruling sustaining the objection to the thumb drive. We
now turn to OPS’ assigned errors.

                   (b) Medical Bill Summary
   OPS objected to Averill’s offer of exhibit 26, which was a
medical expense summary she helped prepare. At the time of
offer, the court inquired whether “we have the bills,” to which
Averill’s counsel responded, “They’re in the thumb drive.”
But the thumb drive had not yet been offered into evidence.
The court overruled the objection to the medical summary.
However, as explained above, OPS’ objection to the thumb
drive was later sustained; thus, the supporting medical bills
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        Nebraska Court of Appeals Advance Sheets
             33 Nebraska Appellate Reports
               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
were not received into evidence. OPS assigns it was error for
the court to receive the medical expense summary into evi-
dence. We agree.
   Rule 10(A) provides in part:
      The Nebraska Workers’ Compensation Court is not bound
      by the usual common law or statutory rules of evidence;
      and accordingly, with respect to medical evidence on
      hearings before a judge of said court, written reports by
      a physician or surgeon duly signed by him, her or them
      and itemized bills may, at the discretion of the court, be
      received in evidence in lieu of or in addition to the per-
      sonal testimony of such physician or surgeon.
(Emphasis supplied.)
   [6,7] Applying Rule 10(A) as it relates to physicians’ reports,
the Nebraska Supreme Court has held that for a medical report
to be admissible, the report must be a medical report and
be signed by a physician, surgeon, vocational rehabilitation
expert, physical therapist, or psychologist. See Johnson v. Ford
New Holland, 254 Neb. 182, 575 N.W.2d 392 (1998). Unsigned
reports are not admissible. See id. Likewise, pursuant to the
language of Rule 10(A), an “itemized bill” is admissible; a
document identifying purported expenses that is not an item-
ized bill is not.
   Exhibit 26 is a 22-page medical bill summary that lists pro-
viders, dates of service, amount billed, payments made, and
balances. It does not identify what services were provided. In
Bortolotti v. Universal Terrazzo and Tile Co., A-17-1024, 2019
WL 446630 (Neb. App. Feb. 5. 2019) (selected for posting to
court website) (Bortolotti I), the employee offered into evi-
dence a summary of medical expenses to which the employer
did not object. However, in its award, the compensation court
refused to rely on the exhibit and several others because they
were not “itemized bills” under Rule 10. Based on the tes-
timony of the employee, however, the compensation court
awarded him his out-of-pocket expense, but no other.
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             33 Nebraska Appellate Reports
               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
   [8] On cross-appeal in Bortolotti I, the employee assigned
error to the compensation court’s refusal to rely on the exhib-
its for his remaining expenses. We found no merit to the
assigned error because the exhibits were not “bills” under
Rule 10. We explained:
         Merriam-Webster defines a “bill” as “an itemized
      account of the separate cost of goods sold, services
      performed, or work done: invoice.” Merriam-Webster’s
      Collegiate Dictionary 113 (10th ed. 2001). It follows,
      therefore, that under Rule 10, a bill is an account or
      invoice from a medical provider or vocational rehabilita-
      tion professional. Exhibit 37 is a printout from [a work-
      ers’ compensation insurance provider] of the invoices it
      received for treatments provided to [the employee]. It
      does not show whether those treatments were for [the
      employee’s] left shoulder. Exhibit 40 is a printout from
      [the employee’s] health insurance provider detailing the
      expenses it paid for [the employee’s] left-shoulder treat-
      ments. And exhibit 41 is [the employee’s] summary of
      medical expenses related to his left-shoulder injury. None
      of these exhibits are accounts or invoices from a medical
      provider for services performed. So although these docu-
      ments may provide detailed summaries of treatments [the
      employee] received, they are not “bills,” and the com-
      pensation court did not abuse its discretion in declining
      to rely on them.
Bortolotti I, supra, 2019 WL 446630 at *7. We reversed the
award of the employee’s out-of-pocket expenses; however, on
further review, the Supreme Court found that the employee’s
testimony, which was not reliant on the summary exhibit, was
sufficient to support the award of the expenses. See Bortolotti
v. Universal Terrazzo &amp; Tile Co., 304 Neb. 219, 933 N.W.2d
851 (2019). No further review was sought for the other
denied expenses.
   [9] As in Bortolotti I, exhibit 26 does not qualify as an
“itemized bill” because it is not an account or invoice from a
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             33 Nebraska Appellate Reports
               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
medical provider, nor does it identify the services provided.
And although the compensation court is not bound by the
usual common-law or statutory rules of evidence, Rule 10 is
an evidentiary rule that allows the compensation court to admit
into evidence documents that would otherwise be inadmis-
sible if those documents meet the requirements of Rule 10.
See Bower v. Eaton Corp., 301 Neb. 311, 918 N.W.2d 249(2018) (holding compensation court did not abuse its discre-
tion in excluding report signed by physician assistant because
physician assistant is not within definition of “physician”).
See, also, Baucom v. Drivers Mgmt., Inc., 12 Neb. App. 790,
686 N.W.2d 98 (2004) (finding error in compensation court’s
receipt of exhibit that did not contain physician’s signature).
   [10] When an employee in a workers’ compensation case
presents evidence of medical expenses resulting from injury,
he or she has made out a prima facie case of fairness and
reasonableness, causing the burden to shift to the employer
to adduce evidence that the expenses are not fair and reason-
able. Visoso v. Cargill Meat Solutions, 18 Neb. App. 202, 778
N.W.2d 504 (2009). This differs from a negligence action in
which the burden to prove fairness and reasonableness remains
with the injured party. See Putnam v. Scherbring, 297 Neb.
868, 902 N.W.2d 140 (2017) (holding admissibility of medical
bills dependent upon admissibility of expert opinion that they
were fair, reasonable, and necessary). Given this more lenient
burden, it is all the more important that the compensation court
enforce the requirement of Rule 10 that medical expenses be
contained in itemized bills. The summary nature of exhibit 26
precludes a determination of whether the expenses allegedly
incurred resulted from Averill’s work injury.
   [11] Erroneous admission of evidence is not reversible error
unless it unfairly prejudiced a substantial right of the com-
plaining party. See Tchikobava v. Albatross Express, 293 Neb.
223, 876 N.W.2d 610 (2016). We analyze whether admission
of this exhibit prejudiced OPS in our analysis of OPS’ second
assignment of error below.
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                AVERILL V. OMAHA PUBLIC SCHOOLS
                       Cite as 33 Neb. App. 272
   We recognize that the compensation court received the sum-
mary after having been advised by Averill that the supporting
medical bills were contained in a different exhibit that would
also be offered into evidence. However, the court had been
advised by OPS that it would be objecting to that additional
exhibit. Rather than receiving the summary “subject to” the
receipt of the actual bills, or receiving it as an aid to the court,
the compensation court received the summary as substantive
evidence. For the reasons stated above, we find this to be an
abuse of discretion.
                        (c) Lost Wages
   OPS objected to the first two pages of exhibit 27, which con-
tains a summary of Averill’s lost wages compiled by Averill’s
counsel. The court overruled the objection. OPS assigns as error
the compensation court’s ruling; however, it does not present
any argument in support of that assigned error. Accordingly,
we do not address it. See Brummer v. Vickers, Inc., 11 Neb.
App. 691, 659 N.W.2d 838 (2003) (alleged errors that are not
both assigned and argued in brief on appeal will not be consid-
ered by appellate court).
                (d) Miscellaneous Medical and
                   Health Insurance Benefits
   Exhibit 33 is a 26-page document that contains both signed
and unsigned medical records from various hospitalizations and
screenshots presumably representing costs billed to and paid
by a health insurer. OPS objected to the exhibit on hearsay,
foundation, and Rule 10. The court overruled the objection.
   On appeal, OPS asserts that the medical records were inad-
missible because they are unsigned and therefore do not com-
ply with Rule 10. We note, however, that the discharge sum-
mary of February 12, 2023, contains an electronic signature
of Dr. John J. Franklin. As to that record, we reject OPS’
argument. The court makes no reference to the other medical
records contained in exhibit 33, and therefore, we infer that
it abided by its statement that it would “give [exhibit 33] the
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               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
weight and credibility it’s entitled to” as it relates to those
other medical records.
   The compensation court specifically referred to exhibit 33
in awarding medical expenses. As previously stated, it ordered
OPS to pay “the outstanding medical bills set forth as itemized
more particularly in Exhibit 26 and Exhibit 33 except those
excluded by the Court in this opinion.” Exhibit 33 includes
screenshots from an insurer’s website identifying medical
expenses, amounts billed, in-network discounts, amounts paid,
and patient’s responsibility. Averill testified that these pages
represented billings from a November 13, 2022, hospitaliza-
tion. However, the records from this hospitalization contained
in exhibit 33 are not signed by a physician and therefore not
admissible under Rule 10. Furthermore, even if we were to
consider those records, they include treatment for tachycardia
and chest pain, maladies which the compensation court deter-
mined were not work related.
   Due to the nondescript nature of the medical expenses con-
tained in exhibit 33, it is impossible to discern whether they
are related to Averill’s work-related injury. Consequently, the
compensation court erred in admitting these exhibits.

               (e) Subrogation and Medical Liens
   OPS objected to exhibits 35 through 39 on hearsay, founda-
tion, relevance, and Rule 10. These exhibits contain a subro-
gation interest and various liens for health care services. They
are not the actual medical bills, but, rather, the liens, and
contain some patient account statements. Prior to overruling
OPS’ objection, the court inquired of Averill’s counsel whether
it had “these bills somewhere else in the file,” and Averill’s
counsel responded, “Yes. And you have the summary.” But, as
noted previously, the actual medical bills are not in evidence
and the court abused its discretion in admitting the summary.
   Exhibit 35 is a letter to Averill’s counsel in which a health
care insurer claimed a subrogation interest of $140,151.54.
Attached to the letter is an 11-page summary identifying
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the provider, claim number, diagnostic code, dates of ser-
vice, charge, benefit amount, and outstanding benefit amount.
No testimony was offered regarding this exhibit. The court
ordered OPS to repay the insurer’s subrogation interest con-
tained in exhibit 35 “except those medical expenses specifi-
cally excluded by the Court in this opinion.”
   Neb. Rev. Stat. § 48-120(8) (Reissue 2021) requires the
employer to reimburse “anyone who has made any payment
to the supplier for services provided in this section. No such
supplier or payor may be made or become a party to any
action before the compensation court.” Therefore, although
the compensation court may have had the authority to order
payment to an insurer for its subrogation interest, the underly-
ing services must be reasonable and necessarily related to the
work injury. See § 48-120(1)(a). Here, because there was no
admissible evidence of the underlying medical expenses, it
is uncertain whether the costs meet this requirement, and the
court abused its discretion in receiving this exhibit.
   Exhibits 36 through 39 contain physician liens from col-
lection agencies. As with exhibit 35, exhibits 36, 37, and 39
do not contain the actual medical bills and therefore suffer
from the same deficiency. Although exhibit 38 contains item-
ized statements supporting some of the claimed expenses,
two statements contain services rendered prior to the work
injury and one statement indicates services for “HIV” testing.
An “Account Detail Listing” includes services rendered in
2004 and 2015, clearly prior to the work injury, and does not
include the itemized statements upon which it is based. Due
to the absence of supporting medical bills and documenta-
tion, the compensation court erred in receiving these exhibits
into evidence.

           2. Payment of Past Medical Expenses
   The compensation court ordered OPS to pay to and on
behalf of Averill “the outstanding medical bills set forth as
itemized more particularly in Exhibit 26 and Exhibit 33 except
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those excluded by the Court in this opinion.” It also ordered
OPS to repay the subrogation interest and the liens of various
medical care providers as itemized in exhibits 35 through 40.
OPS argues it was error for the court to order these payments
without supporting itemized bills in evidence. We agree.
   As stated above, the court abused its discretion in admit-
ting the medical summary and other exhibits discussed above.
Whether this constitutes reversible error depends upon whether
OPS was prejudiced by the admission of the exhibits. See
Tchikobava v. Albatross Express, 293 Neb. 223, 876 N.W.2d
610 (2016). Without exhibit 26, the court had no evidence
before it to substantiate Averill’s claims for the medical
expenses set forth therein; therefore, because the compensation
court relied solely on exhibit 26 in awarding Averill medical
expenses listed therein, its admission was prejudicial to OPS.
Likewise, ordering OPS to pay the expenses contained in
exhibit 33 and to repay the subrogation interest and health care
providers’ liens was an abuse of discretion.
   It was incumbent upon Averill to present admissible evi-
dence to support an award of medical expenses. Having found
the court abused its discretion in admitting and relying upon
exhibit 26, we reverse that portion of the award ordering OPS
to pay the medical expenses listed in exhibit 26—with one
caveat. OPS admits that two entries in exhibit 26 are supported
by Rule 10 bills. Those expenses are contained in exhibit
40 and total $565. Therefore, OPS remains liable for those
expenses. As to the other expenses awarded by the compen-
sation court contained in exhibits 33 and 35 through 39, we
reverse those portions of the award.

             3. Recredit of Paid Sick Time Days
   During trial, Averill testified that she did not receive any
TTD benefits for the time she took off work to attend medical
appointments or was hospitalized; rather, she used her accu-
mulated sick time so she could continue to get paid. Averill
offered an exhibit itemizing each hour of work missed due to
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               AVERILL V. OMAHA PUBLIC SCHOOLS
                      Cite as 33 Neb. App. 272
her injury. The exhibit revealed 759.55 hours of work missed,
equating to 18.99 weeks. The court interjected that it did not
“think [it had] the authority to tell OPS to reinstate her sick
leave days.” Averill’s counsel responded, “Right.”
   Despite the compensation court’s statement, in its award, it
ordered: “To the extent that [OPS] has taken days that [Averill]
has accumulated for sick leave in the course of her employ-
ment to pay for temporary or permanent indemnity those
dates should be recredited to [Averill].” It also ordered OPS
to pay 19 weeks of TTD at $817 per week (totaling $15,523)
and credited OPS with indemnity payments paid to date,
$20,294.25 of which was for TTD. OPS assigns that the com-
pensation court acted without and in excess of its authority by
ordering a “recredit” of Averill’s sick leave.
   [12] At oral argument, Averill’s counsel confirmed his posi-
tion was based upon the assumption that Averill was required
to use sick leave instead of receiving indemnity benefits. He
agreed that if the evidence reflected that OPS paid more in
TTD benefits than the 19 weeks ordered, Averill was not
entitled to a recredit of her sick leave benefit. Because the
evidence shows that OPS paid TTD in excess of 19 weeks,
Averill was not required to use accumulated sick leave in lieu
of receiving indemnity benefits. Because the condition upon
which a recredit was based did not exist, we need not decide
whether the compensation court acted within its authority in
ordering it. See Nesbitt v. Frakes, 300 Neb. 1, 911 N.W.2d
598 (2018) (appellate court is not obligated to engage in
analy­sis that is not necessary to adjudicate case and contro-
versy before it).

                  4. Well-Reasoned Opinion
   OPS assigns that the compensation court’s award does not
provide for meaningful appellate review, in violation of Rule
11 of the Nebraska Workers’ Compensation Rules. It argues
that the court failed to delineate which expenses are compen-
sable and failed to specify the evidence upon which it relied.
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              AVERILL V. OMAHA PUBLIC SCHOOLS
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Because we have reversed the compensation court’s award of
nearly all medical expenses, we need not address this argu-
ment. See Klingelhoefer v. Parker, Grossart, 20 Neb. App.
825, 834 N.W.2d 249 (2013) (appellate court not obligated to
engage in analysis which is not needed to adjudicate case and
controversy before it).
                      VI. CONCLUSION
   The compensation court abused its discretion in admitting
evidence that did not comply with the requirements of Rule
10; we therefore reverse the award of medical expenses with
the exception of those expenses identified in exhibit 40 and
specifically referenced herein. We otherwise affirm the award
of the compensation court.
                   Affirmed in part, and in part reversed.
